Case 1:20-cv-02658-CJN Document 15-23 Filed 09/23/20 Page 1 of 6




              EXHIBIT 17
                          +0.37%           S&P      +0.8%        NASDAQ     +1.09%
                   Case 1:20-cv-02658-CJN Document 15-23 Filed 09/23/20 Page 2 of 6
                    DOW                    500                   100




HOME    TECH




Trump admits there's no 'legal
path' for TikTok to pay the US
government as part of a sale to
an American company
Tyler Sonnemaker
Sep 16, 2020, 3:52 PM




Jim Watson/AFP via Getty Images; Samantha Lee/Business Insider



                    President Donald Trump acknowledged during
                    a press conferenceWednesday that TikTok
                    couldn't legally pay the US government as part of
                    a deal involving an American company.
 Case 1:20-cv-02658-CJN Document 15-23 Filed 09/23/20 Page 3 of 6
  "Amazingly, I find that you’re not allowed to do
  that — you’re not allowed to accept money,"
  Trump told reporters.


  The president had previously claimed he could
  force TikTok and any US-based buyers to pay the
  Treasury Department a "very big" cut, though it
  was unclear that such an arrangement would be
  legal.


  Oracle has recently emerged as the favorite to
  acquire some of TikTok's US assets, but any deal
  is far from certain as a Sunday deadline looms.


  Visit Business Insider's homepage for more
  stories.




President Donald Trump on Wednesday said the US
government was not allowed to accept money as part of a
proposed deal between TikTok and an American buyer.
"Amazingly,   I find that you're
  Case 1:20-cv-02658-CJN         not15-23
                           Document  allowed  to09/23/20
                                          Filed  do that — you're
                                                         Page 4 of 6
not allowed to accept money," Trump told reporters during a
press conference. "If they're willing to make big payments to the
government, they're not allowed, because there's no way of
doing that. There's no legal path to doing that."


Trump had previously claimed he would require the US
Treasury Department to receive a "very big" payment as a
condition of approving any deal involving the sale of TikTok or
its assets to an American tech company, which Trump has
attempted to force through multiple executive orders.


Trump on Wednesday said that he had told government lawyers
he wanted "a big chunk of that money to go to the United States
government because we made it possible" but that lawyers
indicated "there's no way of doing that."




Legal experts have cast doubt on whether or how Trump could
force such a payment, noting that there's no legal provision
explicitly allowing it andDocument
  Case 1:20-cv-02658-CJN   that the 15-23
                                    US bans   other
                                          Filed     countries
                                                09/23/20 Page 5from
                                                                 of 6
engaging in similar pay-to-play schemes.


The president appeared to not consider the matter fully settled,
however, telling reporters: "We're looking into that right now."


Multiple reports have surfaced over the past few weeks as
several hopeful buyers have raced to reach a deal with TikTok's
Beijing-based parent company, ByteDance, ahead of a
September 20 deadline. Microsoft was thought to have been
leading the pack, but TikTok rejected its bid earlier this week,
and Oracle is now the apparent frontrunner to form some type
of partnership with TikTok.


Oracle submitted a proposal to the US government early this
week, but it's said to be facing roadblocks as government
officials weigh whether the proposed deal would do enough to
address the national security concerns laid out by Trump in his
executive order.
Trump  on Wednesday said
 Case 1:20-cv-02658-CJN    he would
                        Document     be Filed
                                 15-23  "briefed"   on the
                                              09/23/20 Pagedeal
                                                            6 of 6
Thursday morning, adding that any proposal needed to be
"100% on national security" and that he's "not prepared to sign
off on anything" at this point.




NEWSLETTER

Sign up for a daily selection of our best stories daily
based on your reading preferences.

    Email address
    Email address                                                                    SIGN UP


By clicking ‘Sign up’, you agree to receive marketing emails from Business Insider as well as other partner
offers and accept our Terms of Service and Privacy Policy.




NOW WATCH: How one Native American tribe
is protecting itself from the coronavirus amid
legal threats and funding delays from the US
government
